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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 UNITED STATES OF AMERICA                           No. 20-cr-00080

        v.                                          Judge Thomas M. Durkin

 CARTER BRETT


                               NOTICE OF DESIGNATION

       Please take notice that the undersigned attorney is designated as counsel for the United

States of America in this matter. Previously designated attorneys for the government will

continue to represent the United States in this matter.


                                                      Respectfully submitted.


                                              By:     /s/ Carla M. Stern
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